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                  PRIVATE REGISfERED OFFSET AND DISCHARGE BOND
                                                            NON NEGOTIABLE
                                                            BOND NO. NUU1JItIM'E

   USPO REGISTER ED MAIL II IU G ISl f Rf 0 \1.\11
                                                                                                          EXPIRATION

          Pay To T he: THE UNITED STATES DEPARTMENTOFTH[ TREASURY
          Ord uOf:          C/O TIMOTHY GEITHNER. TRUSTEE OF THE US BANKRUPTCY
                            1500 PENNSYLVANIA AVENUE, NW
                            WASHINGTON, DC 20220.

          For:              I fliler -Loller: I\:une.                                                                       LJdL&IIiU
                            \! I. ( \1"11 \I i\i,\ \If                                                                      Account Holder, and
                            Social Security Number:                                                                         Account, each severally

    INTERNAL REVENUE SERVICE and all subdivisions and agents thereof
                 ' i                   tIld all subdivisions and ~nlS thereof I
                                                                                                 1                          Aeeount Holder
                                                                                                                            Acoounl HoIdo:r


                                                              p l' ;ri "'.7 •
                                                                                                                            Aec:ounl Holder
                                                                               0'·                                          Account Holder

                                                               ~((DV;r -::#.$,
                                                                                                                            ACC(M.Inl Holder
    \OIltIOl'"




          I    cr- I o\\",r' ',uno- Principal,                                                      Private Offset Accounl ll ~""iD!tmttl

                                     Surety II I,                                                   Private Offset
         Pr;va lf Offset Di sc: lll rJi ng Ind l ad( mnily Bond II !!ilIIiM Ii.'iCliUltiusPO REG ISTERED MAIL

                                     Surety '2,                                                     Privale Offset
         Priva te OlTsel DiJ(hu, ;nl and Ind t mniry Bond /I illlUb.iIJiCiiliiiiusPO REGISTERED MA1U




                Su.my 'I iniliall:                                             Surety 12                                    Principal initials

               In order to Discharge or Offset debt, 10 pr'OlcCC Sewred Interests, to reserve the right of Remedy, Recourse and Subrogation, and in
   order to maintain !he Hooor of the named Aecount HoIder{s) and Aecount(s), and to facilitale lawful commercial transactions, and in order 10
   lawfu lly engage in cornmcru within the jurisdiction ofnlE UN ITED STATES DEPARTMENT OF THE TREASU RY, this Private Offset
   Dischafling and Indemnity Bond, issued toMR, TIMOTHY F, GEfTHNER, THESECRETARYOFTHETREASURY, THE UNITED STATES
   DEPARTMENT OF THE TREASURY is neeessitated.

                  We,                        alPri ncipal, and                          Surety. and                               Surety. being Creditors, Sui
   Juns status, of SOIUld mind{s), Standing in Honor, with full knowledge and full disclosure, with HonOfIble Intent, herein hold, bind, and
   obligate Ourselves, individually and cooperatively. jointly and sevcntlly, as voluntary sureties for the herei n named Aeoount Holder{s) and
   Aecount(s), each Jointly and Severally, for any amount(s) up to Ind includi ng S3OO,OOO,OOO,OO (USD) - Th in lI undred Million Unlttd
   Sll let Dollln, for the Honorable purposes through this Bond, of Undawriling, Insuring, and Indemnifying said Account Holder(s) and
   Aoeount(s) against Iny and all pre<eisting, current, ..w future liabi lities Ihtoughlby OIDening 'Pinst mis Bond, Dollar for Dollar, In such
   obligations, ~taich shall include but not be: limited 10,In)' and ,II underlying and relued KCOlInt(s), aatnt)'{s). bond(s). Ind person(s). public
   or private, ~tlcther named or unnamed, for aiL liding(s). abetting(s), ad{s), action{s) (whether civil or criminal), ~ions. act(s) of god,
   Idviwnent(s), affidlvit(s), affimwion{s). UIsalndi ng{s). ..:LmiraLty action(s), arrest(s). activity, Inestation{s), aoxident(s), appointment(s),
   ICCOI'd(s), Bgreemcru(s), bill{s), breach(es) of contract, bond(s), bankruptcy action(s). baring($), brolming(s), C3prure(s), casc(s), cause(s),
   charge(s). claim(s), oodc(s), colla:tion(s), commercial action(s), common law action(,), complaint(I), commitmcnl(S), communication(s)
   (whethct Written, Oral, or EJectrooic, with or without notice), compensatory damage(s), cost(s), criminal debt(s), CQntnct(s), conspiracy,
   COIII'Iterfeiling(s), condemnillg(s), conlributina(s). cOIwerin&(s), commission(s), damlg:e(s), databasel). debt{s), deeision(s), default(s),
   deftcit{I), deficiencies, docket(s), document{s), encumbranec(s), equity Ktion(s), enor(s), execution(s), ekdion(s), expmsc(s), fcc(s), file(s).
   findina(s), fine(s), forfeilura:s), fraud{s), hcaring(s), hoIding{s), informllioo(s). indictment(s). injury(s), insll\llllClll{s). ineursion(s),
                                                     ,
               Paac I of6 Bond Number ,ililtmlijiEiunlt t d Sll ltS POSI om« RtRistertd Mi ll Nllmbn RR IB""(,7R91 "




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